                                                                                                                                                   OMB No. 1140-0011 (12/31/2025)
U.S. Department
             Case of Justice
                     4:22-cv-00143-P Document                                55-1 Filed 04/17/23                      Page 1 of 13 PageID 1029
Bureau of Alcohol, Tobacco, Firearms and Explosives
                                                                                            Application to Make and Register a Firearm

ATF Control Number
To: Bureau of Alcohol, Tobacco, Firearms and Explosives, P.O. Box 5015, Portland, OR 97208-5015, National Firearms Act Division (NFA)
(Submit in duplicate. Please do not staple documents. See instructions attached.)
As required by Sections 5821(b), 5822, and 5841 of the National Firearms Act, Title 26 U.S.C., Chapter 53, the    Type of Application (check one)
XQGHUVLJQHG KHUHE\ VXEPLWV DSSOLFDWLRQ WR PDNH DQG UHJLVWHU WKH ¿UHDUP GHVFULEHG EHORZ
2. Application is made by:          Corporation        Individual     3a. Trade Name (If any)                        D Tax Paid. Submit your tax payment of $200
                                                                                                                                   with the application. The tax may be paid
      Other Legal Entity              Trust               Government                                                                by credit or debit card, check, or money order.
                                                          Entity                                                                   Please complete item 20. Upon approval of
                                                                                                                                   WKHDSSOLFDWLRQZHZLOODIIL[DQGFDQFHOWKHrequired
3b. Applicant’s Full Legal Name and Full Mailing Address (Type or print below) (See instruction 2.D)                               National Firearms Act Stamp.
                                                                                 3d. County/Parish                                 (See instruction 2.C and 3)

                                                                                                                                 E Tax Exempt. Firearm is being made on
                                                                                                                                    behalf of the United States, or any department,
                                                                                 3e. Telephone Number                              independent establishment, or agency thereof.
                                                                                                                                    or
                                                                                                                                    Tax Exempt. Firearm is being made by or on
                                                                                                                                   behalf of any State or possession of the United 6tates,
                                                                                 3f. E-mail Address
                                                                                                                                   or any political subdivision thereof, or any
                                                                                                                                    RIILFLDOSROLFH RUJDQL]DWLRQRIVXFKDJRYHUQPHQW
                                                                                                                                    entity engaged in criminal investigations.
3c. If P.O. Box is Shown Above, Street Address Must be Given Here
                                                                                                                                 F Tax Exempt. Firearm is not subject to the making
                                                                                                                                    WD[SXUVXDQWWR 7LWOH86& 7R FRQILUP
                                                                                                                                    WKHDSSOLFDWLRQTXDOLILHVIRUWD[IUHHUHJLVWUDWLRQ$7)
                                                                                                                                    may require additional supporting documentation,
                                                                                                                                    VXFKDVSKRWRJUDSKVRIWKHILUHDUPWREHUHJLVWHUHG
4.    Description of Firearm (Complete items a through k) (See instruction 2.J)
a.    Name and Address of Original Manufacturer and/or           b. Type of Firearm to be Made          c.     Caliber       d. Model $VPDUNHGRQ¿UHDUP
      Importer of Firearm (If any)                                    6HHGH¿QLWLRQ.                          or
                                                                     (If a destructive device,                  Gauge        e. Barrel Length                  f.   Overall Length
                                                                     complete item 4.J)                      (Specify one)

                                                                                                                             g. Serial Number

h.    Additional Description (Indicate required Maker’s Markings to include Maker’s        i.   Specify Why You Intend To Make Firearm (Use additional sheet if necessary)
      QDPHDVUHJLVWHUHG&LW\DQG6WDWHDVHDFKZLOODSSHDURQ¿UHDUP




j. Type of Destructive Device (Check one box):         Firearm       Explosives (If the Explosives box is checked, complete item 5 and see instruction 2.M)

     If an Explosive Type Destructive Device, Please provide additional description:
k. Is This Firearm Being Reactivated?          Yes       No    6HHGH¿QLWLRQ. 
5.    Applicant’s Federal Firearms License (If any) or Explosives License or Permit Number 6.   Special (Occupational) Tax Status (SOT) ,IDSSOLFDEOH  6HHGH¿QLWLRQV
      )RU 1RWL¿FDWLRQ 3XUSRVHV SHU 5HJXODWLRQ  3OHDVH 3URYLGH 'LJLW
      Number
                                                                                           D   (PSOR\HU ,GHQWL¿FDWLRQ 1XPEHU                           b.    Class



Under Penalties of Perjury, I declare that I have examined this application, including accompanying documents, and to the best of my knowledge and belief it is
WUXH DFFXUDWH DQG FRPSOHWH DQG WKH PDNLQJ DQG SRVVHVVLRQ RI WKH ¿UHDUP GHVFULEHG DERYH ZRXOG QRW FRQVWLWXWH D YLRODWLRQ RI 7LWOH  86& &KDSWHU 
Title 26, U.S.C., Chapter 53; or any provisions of State or local law.
7. Signature of Applicant                                             1DPH DQG 7LWOH RI $XWKRUL]HG 2൶FLDO                                      9. Date



                                        The space below is for the use of the Bureau of Alcohol, Tobacco, Firearms and Explosives
By authority of the Director, Bureau of Alcohol, Tobacco, Firearms and Explosives, this Application has been Examined and the Applicant’s Making and Registration of the
Firearm described above is:
      Approved (With the following conditions, if any)                                          Disapproved (For the following reasons)




$XWKRUL]HG $7) 2൶FLDO                                                                                                                                                 Date


Previous Editions Are Obsolete                                                                                                                                  ATF Form 1 (5320.1)
                                                                                     ATF Copy                                                                   Revised December 2022

                                                                                                                                                    EXHIBIT 1
                 Case 4:22-cv-00143-P  Document 55-1 Filed 04/17/23 Page 2 of 13 PageID 1030
                                  MAKER’S CERTIFICATION (not completed by a GOVERNMENT ENTITY)
 /DZ(QIRUFHPHQW1RWL¿FDWLRQ(See instruction 2.H)
(DFK DSSOLFDQW LV WR SURYLGH QRWL¿FDWLRQ RI WKH SURSRVHG PDNLQJ DQG SRVVHVVLRQ RI WKH ¿UHDUP GHVFULEHG RQ WKLV )RUP  E\ SURYLGLQJ D FRS\ RI WKH FRPSOHWHG IRUP WR WKH
&KLHI /DZ (QIRUFHPHQW 2൶FHU (CLEO) LQ WKH DJHQF\ LGHQWL¿HG EHORZ


Agency or Department Name                                                                     1DPH DQG 7LWOH RI 2൶FLDO



Address (Street address or P.O. Box, City, State and ZIP Code) to which sent (Mailed or delivered)

                                         ,QIRUPDWLRQIRUWKH&KLHI/DZ(QIRUFHPHQW2൶FHU                                                     12. Photograph

7KLV IRUP SURYLGHV QRWL¿FDWLRQ RI WKH DSSOLFDQW¶V LQWHQW WR PDNH DQG UHJLVWHU D 1)$ ¿UHDUP 1R DFWLRQ LV UHTXLUHG E\ WKH &/(2
+RZHYHU VKRXOG WKH &/(2 KDYH LQIRUPDWLRQ WKDW PD\ GLVTXDOLI\ WKLV SHUVRQ IURP PDNLQJ RU SRVVHVVLQJ D ¿UHDUP SOHDVH
contact the NFA Division at (304) 616-4500 or NFA@atf.gov.
Maker’s Questions (Complete only when the maker is an individual)
Answer the following questions by checking or marking either the “yes” or “no” box to the right of the questions.
11. Answer questions 11.a. through 11.m. Answer questions 13, 15, 16 and 17 if applicable. For any “Yes” answer
    the applicant shall provide details on a separate sheet. 6HHLQVWUXFWLRQ&DQGGH¿QLWLRQV
                                                                                                                               Yes      No
D 'R \RX LQWHQG WR PDNH DQ\ ¿UHDUP OLVWHG RQ WKLV IRUP IRU VDOH RU RWKHU GLVSRVLWLRQ WR DQ\ SHUVRQ GHVFULEHG LQ
   questions 11.c through 11.l, or a person described in question 11.m who does not fall under an exception?
E 'R \RX LQWHQG WR VHOO RU RWKHUZLVH GLVSRVH RI DQ\ ¿UHDUP OLVWHG RQ WKLV IRUP LQ IXUWKHUDQFH RI DQ\ IHORQ\ RU RWKHU
   R൵HQVH SXQLVKDEOH E\ LPSULVRQPHQW IRU D WHUP RI PRUH WKDQ RQH \HDU D )HGHUDO FULPH RI WHUURULVP RU D GUXJ
   WUD൶FNLQJ R൵HQVH"
c. Are you under indictment or information in any court for a felony, or any other crime, for which the judge
   could imprison you for more than one year? 6HHGH¿QLWLRQ1
d. Have you ever been convicted in any court for a felony, or any other crime, for which the judge could have imprisoned you
   for more than one year, even if you received a shorter sentence including probation? 6HHGH¿QLWLRQ1
e. Are you a fugitive from justice? 6HHGH¿QLWLRQ7
f. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any                                     $൶[D´[´3KRWRJUDSK+HUH
   other controlled substance? Warning: The use or possession of marijuana remains unlawful under                                                     No Stapling. Please Tape
   Federal law regardless of whether it has been legalized or decriminalized for medicinal                                                        Sides of Photo to the Application.
   or recreational purposes in the state where you reside.
                                                                                                                                             1. Photo must have been taken within the
g. Have you ever been adjudicated as a mental defective OR have you ever been committed to a mental                                             last year.
   institution? 6HHGH¿QLWLRQ2DQG3
h. Have you been discharged from the Armed Forces under dishonorable conditions?                                                             2. Photo must have been taken in full face
i. Are you subject to a court order restraining you from harassing, stalking, or threatening your child or an                                   view without a hat or head covering that
   intimate partner or child of such partner? 6HHGH¿QLWLRQ4                                                                                 obscures the hair or hairline.

j. Have you ever been convicted in any court of a misdemeanor crime of domestic violence? 6HHGH¿QLWLRQ5                                  3. On back of photograph print full name,
k.   Have you ever renounced your United States citizenship?                                                                                    last 4 of SSN.

l.   Are you an alien illegally or unlawfully in the United States?

m.1. Are you an alien who has been admitted to the United States under a nonimmigrant visa?                       Yes          No
m.2. If “Yes”, do you fall within any of the exceptions stated in the instructions? Attach the documentation to the application                   Yes         No          N/A
13. If you are an alien, record your U.S.-Issued Alien or Admission number (AR#, USCIS#, or I94#):

 +DYH \RX EHHQ LVVXHG D 8QLTXH 3HUVRQDO ,GHQWL¿FDWLRQ 1XPEHU 83,1 ? (See instruction 2.F)                    Yes      No If Yes please list
15. Social Security Number: (See instruction 2.F)                                                Date of Birth:

16a. Ethnicity               Hispanic or Latino            16b. Race              American Indian or Alaska Native                   Black or African American              White
                             Not Hispanic or Latino                               Asian                                              1DWLYH +DZDLLDQ RU 2WKHU 3DFL¿F ,VODQGHU
17a. Country of Citizenship: &KHFN/LVWPRUHWKDQRQHLIDSSOLFDEOH1DWLRQDOVRIWKH8QLWHG6WDWHVPD\FKHFN86$  6HHGH¿QLWLRQ6

          United States of America (U.S.A.)            Other Country/Countries (Specify):
17b. State of Birth                                                                                17c.Country of Birth

CERTIFICATION: Under penalties imposed by 18 U.S.C. § DQG86&§ ,FHUWLI\WKDWXSRQVXEPLVVLRQRIWKLVIRUPWR$7)DFRPSOHWHGFRS\RIWKLVIRUP
ZLOOEHGLUHFWHGWRWKH&/(2VKRZQLQLWHPWKDWWKHVWDWHPHQWVDVDSSOLFDEOHFRQWDLQHGLQWKLVFHUWL¿FDWLRQDQGDQ\DWWDFKHGGRFXPHQWVLQVXSSRUWWKHUHRIDUHWUXHDQG
FRUUHFWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI127( 6HHLQVWUXFWLRQV'  DQG'  IRUWKHLWHPVWREHFRPSOHWHGGHSHQGLQJRQWKHW\SHRIDSSOLFDQW


      Signature of Maker                                                                                  Date
                                                                                                                                                                 ATF Form 1 (5320.1)
                                                                                          ATF Copy                                                               Revised December 2022

                                                                                                                                                        EXHIBIT 1
18. Number ofCase    4:22-cv-00143-P
             Responsible                           Document
                         Persons VHHGH¿QLWLRQV associated           55-1 trust
                                                            with the applicant Filed   04/17/23
                                                                                 or legal entity                 Page 3 of 13 PageID 1031
19. Provide the full name (printed or typed) below for each Responsible Person associated with the applicant trust or legal entity (if there are more Responsible Persons than
    can be listed on the form, attach a separate sheet listing the additional Responsible Person(s)). Please note that a completed Form 5320.23, National Firearms Act
     1)$ Responsible Person Questionnaire, must be submitted with the Form 1 application for each Responsible Person.
Full Name                                                                                      Full Name




 0HWKRGRI 3D\PHQW (Check one) (See instruction 2.I) (if paying by credit/debit card, complete the sections below)
    Check (Enclosed)               Cashier’s Check or                     Visa            Mastercard             American                Discover                Diners Club
                                   Money Order (Enclosed)                                                        Express
Credit/Debit Card Number 1R GDVKHV                                                  Name as Printed on the Credit/Debit Card                Expiration Date (Month & year)


                      Address:
Credit/Debit Card
Billing Address:       City:                                               State:                                           ZIP Code:

                                                                                                                                 Tax Amount:
                                                                                                                                  $
I Authorize ATF to Charge my Credit/Debit Card the Above Amount.



                                  Signature of Cardholder                                                                                      Date

<RXU FUHGLWGHELW FDUG ZLOO EH FKDUJHG WKH DERYH VWDWHG DPRXQW XSRQ UHFHLSW RI \RXU DSSOLFDWLRQ 7KH FKDUJH ZLOO EH UHÀHFWHG RQ \RXU FUHGLWGHELW FDUG VWDWHPHQW
In the event your application is NOT approved, the above amount will be credited to the credit/debit card noted above.
                                                         Important Information for Currently Registered Firearms


,I \RX DUH WKH FXUUHQW UHJLVWUDQW RI WKH ¿UHDUP GHVFULEHG RQ WKLV IRUP SOHDVH QRWH WKH IROORZLQJ LQIRUPDWLRQ

Estate Procedures: )RU SURFHGXUHV UHJDUGLQJ WKH WUDQVIHU RI ¿UHDUPV LQ DQ HVWDWH UHVXOWLQJ IURP WKH GHDWK RI WKH UHJLVWUDQW LGHQWL¿HG LQ LWHP E WKH H[HFXWRU VKRXOG FRQWDFW
the NFA Division, Bureau of ATF, 244 Needy Road, Martinsburg, WV 25405 or contact via email at NFAFAX@ATF.gov for additional assistance.

Interstate Movement: ,I WKH ¿UHDUP LGHQWL¿HG LQ LWHP  LV D machinegun, VKRUWEDUUHOHGULÀH, short-barreled shotgun, or destructive device, the registrant may be
required by 18 U.S.C. § 922(a)(4) to obtain permission from ATF prior to any transportation in interstate or foreign commerce. ATF Form 5320.20 can be used to request this
permission.

Change of Description or Address: The registrant shall notify the National Firearms Act Division, National Service Center, Bureau of Alcohol, Tobacco, Firearms and
([SORVLYHV  1HHG\ 5RDG 0DUWLQVEXUJ :9  LQ ZULWLQJ RI DQ\ FKDQJH WR WKH GHVFULSWLRQ RI WKH ¿UHDUP LQ LWHP  RU DQ\ FKDQJH WR WKH DGGUHVV RI WKH UHJLVWUDQW

Restrictions on Possession: Any restriction (see approval block on face of form) RQ WKH SRVVHVVLRQ RI WKH ¿UHDUP LGHQWL¿HG LQ LWHP  FRQWLQXHV ZLWK WKH IXUWKHU WUDQVIHU RI
WKH ¿UHDUP

Persons Prohibited from Possessing Firearms: ,I WKH UHJLVWUDQW EHFRPHV SURKLELWHG IURP SRVVHVVLQJ D ¿UHDUP SOHDVH FRQWDFW WKH 1)$ 'LYLVLRQ IRU SURFHGXUHV RQ KRZ WR
GLVSRVH RI WKH ¿UHDUP

Proof of Registration: $ SHUVRQ SRVVHVVLQJ D ¿UHDUP UHJLVWHUHG DV UHTXLUHG E\ WKH 1)$ VKDOO UHWDLQ SURRI RI UHJLVWUDWLRQ ZKLFK VKDOO EH PDGH DYDLODEOH WR DQ\ $7) 2൶FHU
upon request.

                                                                      Paperwork Reduction Act Notice

This form is in accordance with the Paperwork Reduction Act of 1995. The information you provide is used to establish that the applicant’s making and possession of the
¿UHDUP ZRXOG EH LQ FRQIRUPDQFH ZLWK )HGHUDO 6WDWH DQG ORFDO ODZ 7KH GDWD LV XVHG DV SURRI RI ODZIXO UHJLVWUDWLRQ RI D ¿UHDUP WR WKH PDQXIDFWXUHU 7KH IXUQLVKLQJ RI WKLV
information is mandatory (26 U.S.C. § 5822).

The estimated average burden associated with this collection of information is 4.0 hours per respondent or recordkeeper, depending on individual circumstances.
&RPPHQWV FRQFHUQLQJ WKH DFFXUDF\ RI WKLV EXUGHQ HVWLPDWH DQG VXJJHVWLRQ IRU UHGXFLQJ WKLV EXUGHQ VKRXOG EH DGGUHVVHG WR 5HSRUWV 0DQDJHPHQW 2൶FHU 5HVRXUFH
0DQDJHPHQW 6WD൵ &RQWUDFW DQG )RUPV 6HFWLRQ %XUHDX RI $OFRKRO 7REDFFR )LUHDUPV DQG ([SORVLYHV  1HZ <RUN $YHQXH 1( :DVKLQJWRQ '& 

An agency may not conduct or sponsor, and a person is not required to respond to, a collection of information unless it displays a currently valid OMB control number.




                                                                                                                                                      ATF Form 1 (5320.1)
                                                                                    ATF Copy                                                          Revised December 2022

                                                                                                                                           EXHIBIT 1
               Case 4:22-cv-00143-P Document Privacy
                                             55-1 ActFiled  04/17/23
                                                      Information                                                  Page 4 of 13 PageID 1032
1. Authority. Solicitation of this information is made pursuant to the National Firearms Act 86&DQG  Disclosure of this information by the applicant
   is mandatory for any person RWKHUWKDQDPDQXIDFWXUHUTXDOL¿HGXQGHUWKH1DWLRQDO)LUHDUPV$FW PDNLQJ D ¿UHDUP DV GH¿QHG LQ WKH 1DWLRQDO )LUHDUPV $FW

2. Purpose. 7R YHULI\ SD\PHQW RI WKH WD[ LPSRVHG E\  86&   WR GHWHUPLQH WKDW WKH PDNLQJ ZRXOG QRW EH LQ YLRODWLRQ RI ODZ DQG WR H൵HFW UHJLVWUDWLRQ RI WKH
   ¿UHDUP

3. Routine Uses. 7KH LQIRUPDWLRQ ZLOO EH XVHG E\ $7) WR PDNH WKH GHWHUPLQDWLRQV VHW IRUWK LQ SDUDJUDSK  ,Q DGGLWLRQ WR H൵HFW UHJLVWUDWLRQ RI WKH ¿UHDUP LQIRUPDWLRQ
   DV WR WKH LGHQWL¿FDWLRQ RI WKH ¿UHDUP GDWH RI UHJLVWUDWLRQ DQG WKH LGHQWL¿FDWLRQ DQG DGGUHVV RI SHUVRQ HQWLWOHG WR SRVVHVV WKH ¿UHDUP ZLOO EH HQWHUHG LQWR WKH 1DWLRQDO
   Firearms Registration and Transfer Record. No information obtained from an application, registration, or records required to be submitted by an individual in order to
   comply with any provision of the National Firearms Act or regulation issued thereunder, shall, except in connection with prosecution or other action for furnishing false
   information, be used, directly or indirectly, as evidence against that person in any criminal proceeding with respect to a violation of law occurring prior to or
   FRQFXUUHQWO\ ZLWK WKH ¿OLQJ RI WKH DSSOLFDWLRQ 7KH LQIRUPDWLRQ IURP WKLV DSSOLFDWLRQ PD\ RQO\ EH GLVFORVHG WR )HGHUDO DXWKRULWLHV IRU SXUSRVHV RI SURVHFXWLRQ IRU
   violation of the National Firearms Act.

4. (൵HFWVRIQRW6XSSO\LQJ,QIRUPDWLRQ5HTXHVWHG Failure to supply complete information will delay processing and may cause denial of the application.
                                                                              'H¿QLWLRQV,QVWUXFWLRQV
 'H¿QLWLRQV
                                                                                               H. Federal Firearms License. A license issued under the provisions of the
    A. 1DWLRQDO)LUHDUPV$FW 1)$ . Title 26, United States Code, Chapter 53.                     *&$ WR PDQXIDFWXUH LPSRUW RU GHDO LQ ¿UHDUPV
       The implementing regulations are found in Title 27, Code of Federal
       Regulations, Part 479.                                                                  I. $7)2൶FHU $Q R൶FHU RU HPSOR\HH RI WKH %XUHDX RI $OFRKRO
                                                                                                  Tobacco, Firearms and Explosives (ATF) authorized to perform any
    B. *XQ&RQWURO$FW *&$ . Title 18, United States Code, Chapter 44.                           function relating to the administration of the NFA.
       The implementing regulations are found in Title 27, Code of Federal
       Regulations, Part 478.                                                                  J. Make. The term “make”, and the various derivatives of such word, shall
                                                                                                  include manufacturing RWKHUWKDQE\RQHTXDOL¿HGWRHQJDJHLQVXFK
    C. Firearm. 7KH WHUP ³¿UHDUP´ PHDQV  D VKRWJXQ KDYLQJ D EDUUHO RU                           EXVLQHVVXQGHUWKH1)$ , putting together, altering, any combination of
       barrels of less than 18 inches in length; (2) a weapon made from a                         WKHVH RU RWKHUZLVH SURGXFLQJ D ¿UHDUP
       VKRWJXQ LI VXFK ZHDSRQ DV PRGL¿HG KDV DQ RYHUDOO OHQJWK RI OHVV WKDQ 
       LQFKHV RU D EDUUHO RU EDUUHOV RI OHVV WKDQ  LQFKHV LQ OHQJWK  D ULÀH                K. Reactivation 7KH UHVWRUDWLRQ RI D UHJLVWHUHG XQVHUYLFHDEOH 1)$ ¿UHDUP WR
       having a barrel or barrels of less than 16 inches in length; (4) a weapon                  a functional condition. This action incurs the making tax liability.
       PDGH IURP D ULÀH LI VXFK ZHDSRQ DV PRGL¿HG KDV DQ RYHUDOO OHQJWK RI OHVV
       than 26 inches or a barrel or barrels of less than 16 inches in length; (5)             L. Unserviceable Firearm. One which is incapable of discharging a shot
       DQ\ RWKHU ZHDSRQ DV GH¿QHG LQ  86&   H   D PDFKLQHJXQ                        E\ PHDQV RI DQ H[SORVLYH DQG LQFDSDEOH RI EHLQJ UHDGLO\ UHVWRUHG WR ¿ULQJ
         D PX൷HU RU D VLOHQFHU IRU DQ\ ¿UHDUP ZKHWKHU RU QRW VXFK ¿UHDUP LV                      FRQGLWLRQ $Q DFFHSWDEOH PHWKRG RI UHQGHULQJ PRVW ¿UHDUPV XQVHUYLFHDEOH
       LQFOXGHG ZLWKLQ WKLV GH¿QLWLRQ DQG  D GHVWUXFWLYH GHYLFHDV GH¿QHG LQ                  is to fusion weld the chamber closed and fusion weld the barrel solidly to
       U.S.C. § 5845 (f).                                                                         the frame.

    D. Person. A partnership, company, association, trust, corporation, including              M. Maker. $ SHUVRQ DSSO\LQJ WR PDNH DQ 1)$ ¿UHDUP
       each Responsible Person associated with such an entity; an estate; or an
       individual.                                                                             N. Prohibited Person. Generally, 18 U.S.C. § 922 (g) prohibits the shipment,
                                                                                                  WUDQVSRUWDWLRQ UHFHLSW RU SRVVHVVLRQ LQ RU D൵HFWLQJ LQWHUVWDWH FRPPHUFH
        4XDOL¿HG $V UHODWHG WR D GHDOHU PDQXIDFWXUHU DQGRU LPSRUWHU TXDOL¿HG                  RI D ¿UHDUP E\ RQH ZKR KDV EHHQ FRQYLFWHG RI D PLVGHPHDQRU RU FULPH RI
        means the person licensed under the GCA as a dealer, importer, or                         domestic violence; has been convicted of a felony, or any other crime,
        manufacturer also pays the Special (Occupational) Tax (SOT), which                        punishable by imprisonment for a term exceeding one year (this does not
        TXDOL¿HV WKDW SHUVRQ WR DOVR HQJDJH LQ WKH EXVLQHVV RI GHDOLQJ LPSRUWLQJ                include State misdemeanors punishable by imprisonment of two years or
        RU PDQXIDFWXULQJ 1)$ ¿UHDUPV                                                             less); is a fugitive from justice, is an unlawful user of, or addicted to,
                                                                                                  marijuana or any depressant, stimulant, or narcotic drug, or any other
                                         Section A                                                controlled substance; has been adjudicated as a mental defective or has
    E. Responsible Person. In case of an unlicensed entity, including any trust,                  been committed to a mental institution; has been discharged from the
       partnership, association, company (including any Limited Liability                         Armed Forces under dishonorable conditions, has renounced his or her
       Company (LLC)), or corporation, any individual who possesses, directly,                    U.S. citizenship; is an alien illegally in the United States or an alien
       or indirectly, the power or authority to direct the management and policies                admitted to the United States under a nonimmigrant visa; or is subject to
       of the trust or entity to receive, possess, ship, transport, deliver, transfer or          certain restraining orders. Furthermore, Section 922(n) prohibits the
       RWKHUZLVH GLVSRVH RI D ¿UHDUP IRU RU RQ EHKDOI RI WKH WUXVW RU OHJDO HQWLW\             VKLSPHQW WUDQVSRUWDWLRQ RU UHFHLSW LQ RU D൵HFWLQJ LQWHUVWDWH FRPPHUFH RI D
                                       Section B                                                  ¿UHDUP E\ RQH ZKR LV XQGHU LQGLFWPHQW RU LQIRUPDWLRQ IRU D IHORQ\ LQ DQ\
       Trust: Those persons with the power or authority to direct the management                  Federal, State or local court, or any other crime, punishable by
       and policies of the trust includes any person who has the capability to                    imprisonment for a term exceeding one year. An information is a formal
       exercise such power and possesses, directly or indirectly, the power or                    DFFXVDWLRQ RI D FULPH YHUL¿HG E\ D SURVHFXWRU
       authority under any trust instrument, or under State law, to receive,
       SRVVHVV VKLS WUDQVSRUW GHOLYHU WUDQVIHU RU RWKHUZLVH GLVSRVH RI D ¿UHDUP           EXCEPTION: A person who has been convicted of a felony, or any other
       for, or on behalf of the trust. Examples of who may be considered a                     crime, for which the judge could have imprisoned the person for more
       Responsible Person include settlors/grantors, trustees, partners, members,              than one year, or who had been convicted of a misdemeanor crime of
       R൶FHUV GLUHFWRUV ERDUG PHPEHUV RU RZQHUV $Q H[DPSOH RI ZKR PD\                      domestic violence, is not prohibited from purchasing, receiving, or possessing
       EH H[FOXGHG IURP WKLV GH¿QLWLRQ RI 5HVSRQVLEOH 3HUVRQ LV WKH EHQH¿FLDU\                 D ¿UHDUP LI  XQGHU WKH ODZ RI WKH MXULVGLFWLRQ ZKHUH WKH FRQYLFWLRQ RFFXUUHG
       RI D WUXVW LI WKH EHQH¿FLDU\ GRHV QRW KDYH WKH FDSDELOLW\ WR H[HUFLVH WKH              the person has been pardoned, the conviction has been expunged or set aside,
       enumerated powers or authorities.                                                       or the person has had their civil rights (the right to vote, sit on a jury, and hold
                                                                                               SXEOLF R൶FH WDNHQ DZD\ DQG ODWHU UHVWRUHG $1'  WKH SHUVRQ LV QRW
    F. (PSOR\HU,GHQWL¿FDWLRQ1XPEHU (,1) 5HTXLUHG RI WD[SD\HU ¿OLQJ                         prohibited by the law of the jurisdiction where the conviction occurred
       Special (Occupational) Tax returns under 27 CFR § 479.35.                               IURP UHFHLYLQJ RU SRVVHVVLQJ ¿UHDUPV 3HUVRQV VXEMHFW WR WKLV H[FHSWLRQ VKRXOG
                                                                                               mark “no” in the applicable box.
    G. 6SHFLDO 2FFXSDWLRQDO 7D[. Required by the NFA to be paid by a
       )HGHUDO ¿UHDUPV OLFHQVHH HQJDJHG LQ WKH EXVLQHVV RI PDQXIDFWXULQJ
                                                                                                                                                         ATF Form 1 (5320.1)
       (Class 2), importing &ODVV , or dealing (Class 3) LQ 1)$ ¿UHDUPV                                                                               Revised December 2022

                                                                                                                                               EXHIBIT 1
                                      'H¿QLWLRQV,QVWUXFWLRQV
            Case 4:22-cv-00143-P Document 55-1 Filed 04/17/23 (Continued)                                          Page 5 of 13 PageID 1033
O. Adjudicated As a Mental Defective. A determination by a court, board,
   commission, or other lawful authority that a person, as a result of marked
   subnormal intelligence, or mental illness, incompetency, condition, or disease:              S. Alien Admitted to the United States Under a Nonimmigrant Visa. An
   (1) is a danger to himself or to others; or (2) lacks the mental capacity to contract           alien admitted to the United States under a nonimmigrant visa includes,
   RU PDQDJH KLV RZQ D൵DLUV 7KLV WHUP VKDOO LQFOXGH  D ¿QGLQJ RI LQVDQLW\ E\ D                  among others, persons visiting the United States temporarily for business
   court in a criminal case; and (2) those persons found incompetent to stand trial                or pleasure, persons studying in the United States who maintain a residence
   or found not guilty by reason of lack of mental responsibility.                                 abroad, and certain temporary foreign workers. These aliens must answer
                                                                                                   “Yes” to question 11.d.1 and provide the additional documentation required
P. Committed to a Mental Institution. A formal commitment of a person                              under question 11.d.2. Permanent resident aliens and aliens legally
   to a mental institution by a court, board, commission, or other lawful                          admitted to the United States pursuant to either the Visa Waiver Program or
   authority. The term includes a commitment to a mental institution                               to regulations otherwise exempting them from visa requirements may
   involuntarily. The term includes commitments for other reasons, such as                         answer “No” to this question and are not required to submit the additional
   for drug use. The term does not include a person in a mental institution                        documentation under 11.d.2. An alien admitted to the United States under
   for observation or a voluntary admission to a mental institution.                               a nonimmigrant visa is not prohibited from purchasing, receiving, or
                                                                                                   SRVVHVVLQJ D ¿UHDUP LI WKH DOLHQ  LV LQ SRVVHVVLRQ RI D KXQWLQJ OLFHQVH RU
EXCEPTION NICS Improvement Amendments Act of 2007: A person who                                    permit lawfully issued by the Federal Government, a State, or local
has been adjudicated as a mental defective or committed to a mental                                government, or an Indian tribe federally recognized by the Bureau of Indian
institution in a State proceeding is not prohibited by the adjudication or                         $൵DLUV ZKLFK LV YDOLG DQG XQH[SLUHG  ZDV DGPLWWHG WR WKH 8QLWHG 6WDWHV
commitment if the person has been granted relief by the adjudicating/                              IRU ODZIXO KXQWLQJ RU VSRUWLQJ SXUSRVHV  LV DQ R൶FLDO UHSUHVHQWDWLYH RI
committing State pursuant to a qualifying mental health relief from disabilities                   a foreign government who is accredited to the United States Government
program. Also, a person who has been adjudicated as a mental defective or                          or the Government’s mission to an international organization having its
committed to a mental institution by a department or agency of the Federal                         KHDGTXDUWHUV LQ WKH 8QLWHG 6WDWHV  LV DQ R൶FLDO UHSUHVHQWDWLYH RI D
Government is not prohibited by the adjudication or commitment if either: (a)                      foreign government who is en route to or from another country to which
the person’s adjudication or commitment was set-aside or expunged by the                           WKDW DOLHQ LV DFFUHGLWHG  LV DQ R൶FLDO RI D IRUHLJQ JRYHUQPHQW RU D
adjudicating/committing agency; (b) the person has been fully released or                          distinguished foreign visitor who has been so designated by the
discharged from all mandatory treatment, supervision, or monitoring by the                         'HSDUWPHQW RI 6WDWH  LV D IRUHLJQ ODZ HQIRUFHPHQW R൶FHU RI D IULHQGO\
DJHQF\ F WKH SHUVRQ ZDV IRXQG E\ WKH DJHQF\ WR QR ORQJHU VX൵HU IURP WKH                           IRUHLJQ JRYHUQPHQW HQWHULQJ WKH 8QLWHG 6WDWHV RQ R൶FLDO ODZ HQIRUFHPHQW
mental health condition that served as the basis of the initial adjudication/                      business; (7) has received a waiver from the prohibition from the Attorney
commitment; or (d) the adjudication or commitment, respectively is based                           General of the United States.
VROHO\ RQ D PHGLFDO ¿QGLQJ RI GLVDELOLW\ ZLWKRXW DQ RSSRUWXQLW\ IRU D KHDULQJ
by a court, board, commission, or other lawful authority, and the person has                    T. Fugitives from Justice. $Q\ SHUVRQ ZKR KDV ÀHG IURP DQ\ 6WDWH WR DYRLG
not been adjudicated as a mental defective consistent with section 922(g)(4)                       prosecution for a felony or a misdemeanor, or any person who leaves the
of title 18, United States Code; or (e) the person was granted relief from the                     State to avoid giving testimony in any criminal proceeding. The term also
DGMXGLFDWLQJFRPPLWWLQJ DJHQF\ SXUVXDQW WR D TXDOL¿HG PHQWDO KHDOWK UHOLHI                         includes any person who knows that misdemeanor or felony charges are
from disabilities program. Persons who fall within one of the above exceptions                     pending against such person and who leaves the State of prosecution.
should mark “No” in the applicable box. This exception to an adjudication
or commitment by a Federal department or agency does not apply to any                      2.   Preparation of Application and Payment of Tax.
person who was adjudicated to be not guilty by reason of insanity, or based
on a lack of mental responsibility, or found incompetent to stand trial, in any                 A. Authority. As provided by 26 U.S.C. § 5822, any person (other than a
criminal case or under the Uniform Code of Military Justice.                                       TXDOL¿HGPDQXIDFWXUHURI¿UHDUPV VHHSDUDJUDSKE seeking to make a
                                                                                                   ¿UHDUP PXVW VXEPLW LQ GXSOLFDWH D VHSDUDWH DSSOLFDWLRQ RQ WKLV IRUP
Q. Restraining Order. 8QGHU  86&   ¿UHDUPV PD\ QRW EH VROG WR                            IRU HDFK ¿UHDUP 7KH DSSOLFDQW PDNHU PXVW IXUQLVK DOO WKH LQIRUPDWLRQ
   or received by persons subject to a court order that; (A) was issued after                      called for, except as noted by instructions within, on this application form.
   a hearing which the person received actual notice of and had an                                 Please note that the form now contains a 3rd (CLEO) copy of the form for
   opportunity to participate in; (B) restrains such person from harassing,                        use in compliance with instruction 2g and item 10 of the form.
   stalking, or threatening an intimate partner or child of such intimate partner
   or person, or engaging in other conduct that would place an intimate partner                 B. 5HJLVWUDWLRQE\4XDOL¿HG0DQXIDFWXUHU A person who has a Federal
   in reasonable fear of bodily injury to the partner or child; and (C)(i)                         ¿UHDUPV OLFHQVH WR PDQXIDFWXUH ¿UHDUPV 7\SHRU and who has paid
   LQFOXGHV D ¿QGLQJ WKDW VXFK SHUVRQ UHSUHVHQWV D FUHGLEOH WKUHDW WR WKH                          Special (Occupational) 7D[ WR PDQXIDFWXUH 1)$ ¿UHDUPV LV H[HPSW IURP WKH
   physical safety of such intimate partner or child; or (ii) by its terms                         PDNLQJ WD[ DQG ¿OLQJ RI WKH $7) )RUP  DSSOLFDWLRQ 6XFK TXDOL¿HG
   explicitly prohibits the use, attempted use, or threatened use of physical                      PDQXIDFWXUHU PXVW UHSRUW DQG UHJLVWHU HDFK 1)$ ¿UHDUP PDQXIDFWXUHG E\
   force against such intimate partner or child that would reasonably be                           ¿OLQJ $7) )RUP  1RWLFH RI )LUHDUPV 0DQXIDFWXUHG RU ,PSRUWHG DV
   expected to cause bodily injury. An “intimate partner” of a person is; the                      required by 27 CFR § 479.103.
   spouse or former spouse of the person, the parent of a child of the person,
   or an individual who cohabitates or has cohabitated with the person.                         C. 3D\PHQWRI([HPSWLRQIURP3D\PHQWRI7D[ As provided in 26 U.S.C.
                                                                                                     WKHUH LV D WD[ RQ HDFK ¿UHDUP PDGH 7KH UHDFWLYDWLRQ RI D UHJLVWHUHG
R. Misdemeanor Crime of Domestic Violence. A Federal, State, local, Tribal                         XQVHUYLFHDEOH ¿UHDUP LV DOVR VXEMHFW WR WKH PDNLQJ WD[ XQGHU WKLV SURYLVLRQ
   R൵HQVH WKDW LV D PLVGHPHDQRU XQGHU )HGHUDO 6WDWH RU 7ULEDO ODZ DQG
   has, as an element, the use or attempted use of physical force, or the                          Title 26 U.S.C. §§ 5852 and 5853 exempts the making tax when an NFA
   threatened use of a deadly weapon, committed by a current or former                             ¿UHDUP PD\ EH PDGH ZLWKRXW SD\PHQW RI WKH WD[ ZKHQ PDGH E\ RU RQ
   spouse, parent, or guardian of the victim, by a person with whom the                            behalf of the United States or any State or political subdivision thereof.
   victim shares a child in common, by a person cohabitating with, or has                          'RFXPHQWDWLRQ WKDW WKH ¿UHDUP LV EHLQJ PDGH IRU D JRYHUQPHQW HQWLW\ VXFK
   cohabited with the victim as a spouse, parent, or guardian, or by a person                      as a United States contract or a State or local government agency purchase
   similarly situated to a spouse, parent, or guardian of the victim, or by a                      order, must accompany the application.
   person who has a current or recent former dating relationship with the
   YLFWLP DV GH¿QHG LQ  86&   D   7KH WHUP LQFOXGHV DOO                                Title 26 U.S.C. §§ 7801, 7805 authorizes the Attorney General to exempt
   misdemeanors that have as an element the use or attempted use                                   tax under the National Firearms Act in limited circumstances. This
   of physical force or the threatened use of a deadly weapon (e.g., assault                       exemption applies when the Attorney General authorizes a tax exemption
   DQG EDWWHU\  LI WKH R൵HQVH LV FRPPLWWHG E\ RQH RI WKH GH¿QHG SDUWLHV (See                     WR LQLYLGXDOV IRU WKH PDNLQJ RI VSHFL¿F 1)$ ¿UHDUPV E\ UXOLQJ UHJXODWLRQ
   ([FHSWLRQLQWKHGH¿QLWLRQRI³3URKLELWHG3HUVRQ´ A person who has                           RU RWKHU QRWLFH 'RFXPHQWDWLRQ PXVW EH SURYLGHG WKDW WKH ¿UHDUP OLVWHG RQ
   been convicted of a misdemeanor crime of domestic violence also is not                          the ATF Form 1 falls within the parameters of the Attorney General
   prohibited unless; (1) the person was represented by a lawyer or gave up the                    authorization.
   right to a lawyer; or (2) if the person was entitled to a jury, was tried by a
   jury, or gave up the right to a jury trial. Persons subject to this exception
                                                                                                                                                        ATF Form 1 (5320.1)
   should mark “no” in the applicable box.                                                                                                              Revised December 2022

                                                                                                                                              EXHIBIT 1
           Case 4:22-cv-00143-P Document 55-1 Filed 04/17/23                                                Page 6 of 13 PageID 1034
D. Completion of Form (Note: Type 03 licensee must follow individual                       the NICS background check. Please be aware that refusal to provide this
   instructions)                                                                           information may result in a delay in the NICS background check process.

   (1) The applicant shall provide the applicant’s full legal name to                  G. Signatures. All signatures required on ATF Form 1 must be original in ink
       LQFOXGH PLGGOH DQG PDLOLQJ DGGUHVV LQ LWHP E ,I D SRVW R൶FH ER[                  on both copies. Exceptions: In the case of eforms on where a variance has
       address is used, the physical address shall be entered in item 3c.                 been granted a Digital/Electronic signature may be used.
       If the applicant is a trust or legal entity, show only the complete
       name of the trust or legal entity and do not include any individual                 (1) if the applicant is an individual, the applicant shall sign the form;
       names VXFKDV QDPHVRIWUXVWHHV RUFRUSRUDWHR৽FLDOV .
       The address shall be the location within the particular State                       (2) if the applicant is a trust or legal entity, a responsible person of the trust
       ZKHUH WKH ¿UHDUP ZLOO EH PDLQWDLQHG IRU D WUXVW RU OHJDO HQWLW\                        or legal entity shall sign the form;
       In the case of two or more locations for a legal entity, the address
       shown shall be the principal place of business within the particular                  LI WKH DSSOLFDQW LV D )HGHUDO ¿UHDUPV OLFHQVHH D UHVSRQVLEOH SHUVRQ RI WKH
       State RUSULQFLSDOR৽FHLQWKHFDVHRIDFRUSRUDWLRQ .                                )HGHUDO ¿UHDUPV OLFHQVHH VKDOO VLJQ WKH IRUP RU

   (2) If the applicant is an individual, the entire Form 1 shall be completed             (4) if the applicant is a government entity, a person who has a authority to
       except for items 18 and 19. In addition, the applicant must include                     sign for the entity shall sign the form.
       KLV RU KHU ¿QJHUSULQWV RQ )%, )RUP )' DQG KLV RU KHU SKRWRJUDSKV
       (see instruction 2g).                                                           H /DZ(QIRUFHPHQW1RWL¿FDWLRQ The applicant must provide a copy of the
                                                                                          )RUP  WR WKH &KLHI /DZ (QIRUFHPHQW 2൶FHU &/(2 ZKR KDV
     ,I WKH DSSOLFDQW PHHWV WKH GH¿QLWLRQ RI D 5HVSRQVLEOH 3HUVRQ IRU D                  jurisdiction over the area of the applicant’s address shown in item 3b of the
      OHJDO HQWLW\ VHH GH¿QLWLRQ H  VHH G IRU 5HVSRQVLEOH 3HUVRQ                 Form 1. In addition, if the applicant is other than an individual, a copy of
      Requirments. Individuals must complete items 11-17 and sign the                     the Form 5320.23, National Firearms Act (NFA) Responsible Person
      &HUWL¿FDWLRQ 6WDWHPHQW                                                             Questionnaire, for each Responsible Person must be provided to their
                                                                                          UHVSHFWLYH &KLHI /DZ (QIRUFHPHQW 2൶FHU 7KH &KLHI /DZ (QIRUFHPHQW
   (4) Documentation of entity existence: (a) If the applicant is other than an           2൶FHU LV FRQVLGHUHG WR EH WKH &KLHI RI 3ROLFH WKH 6KHUL൵ WKH +HDG RI WKH
       individual, the applicant must attach documentation evidencing the existence       State Police; or a State or local district attorney or prosecutor.
       and validity of the entity, which includes complete and unredacted copies
       of partnership agreements, articles of incorporation, corporate registration,   I. Remittance. If the application is subject to the $200 making tax, please
       declarations of trust with any trust schedules, attachments, exhibits, and         complete item 20 of the ATF Form 1. Please note that you may pay the tax
       enclosures. (b) If the applicant entity has had an application approved as a       by credit/debit card, check, or money order. The check or money order is
       PDNHU RU WUDQVIHUHH ZLWKLQ WKH SUHFHGLQJ  PRQWKV RI WKH GDWH RI ¿OLQJ            to be made payable to ATF. Do not send cash.
       this application, and there has been no change to the documentation
       evidencing the existence and validity of the entity previously provided,        J   Photocopies, Computer Generated Versions or Download Version.
       WKH HQWLW\ PD\ SURYLGH D FHUWL¿FDWLRQ WKDW WKH LQIRUPDWLRQ KDV QRW EHHQ             The form may be copied or downloaded (for example, from the ATF website
       changed since the prior approval and shall identify the application for             (www.atf.gov)). The form does not have to be printed front to back.
       which the documentation had been submitted by form number, serial
       number, and date approved.                                                      K. Description of Firearm and Markings. (1) Item 4a. If you are modifying
                                                                                          DQ H[LVWLQJ ¿UHDUP HQWHU WKH QDPH DQG ORFDWLRQ RI WKH RULJLQDO PDQXIDFWXUHU
        Note: An entity licensed under the Gun Control Act (GCA) that does not            ,I \RX DUH FUHDWLQJ WKH ¿UHDUP HQWHU WKH 0DNHU¶V QDPH FLW\ DQG 6WDWH
        pay the Special (Occupational) Tax (SOT) must submit documentation                  ,WHP E 7KH W\SHV RI 1)$ ¿UHDUPV DUH OLVWHG LQ WKH GH¿QLWLRQV 
        of entity existence as required in the above paragraph 27 CFR § 479.63(b)         Item 4c. Specify one caliber or gauge. If there is another designation,
        (2)(ii).                                                                          indicate the designation in item 4h. (4) Item 4d. Show the model
                                                                                          designation (if known). (5) Item 4e and 4f. Specify one barrel length and
                                                                                          RYHUDOO OHQJWK LQ LWHPV H DQG I DV DSSOLFDEOH 1RWH LI WKH ¿UHDUP KDV D
   (5) If the applicant is other than an individual, each Responsible Person              folding or collapsible stock, the overall measurement is to be made with
       VHH GH¿QLWLRQ H IRU WKH WUXVW RU OHJDO HQWLW\ PXVW LQFOXGH D FRPSOHWHG            the stock extended. (6) Item 4g. Do not alter or modify the serial number
       ATF Form 5320.23, National Firearms Act (NFA) Responsible Person                   RI DQ H[LVWLQJ ¿UHDUP  (QWHU WKH H[LVWLQJ VHULDO QXPEHU RU LI D QHZ
       Questionnaire, with the submitted Form 1.                                          ¿UHDUP RQH \RX FUHDWH  0DUNLQJV 7KH PDNHU LV UHTXLUHG WR PDUN WKH
                                                                                          ¿UHDUP ZLWK WKH 0DNHU¶V QDPH &LW\ DQG 6WDWH DV VKRZQ LQ LWHP E $OO
        Note: Each Responsible Person of an entity licensed under the Gun                 markings are to be in compliance with 27 CFR §§ 478.92 and 479.102.
        Control Act (GCA) that does not pay the Special (Occupational)                    'R QRW DOWHU RU PRGLI\ WKH VHULDO QXPEHU RI DQ H[LVWLQJ ¿UHDUP (QWHU WKH
        Tax (SOT) must submit ATF Form 5320.23 with the application as                    H[LVWLQJ VHULDO QXPEHU RU LI D QHZ ¿UHDUP RQH \RX FUHDWH 7KH 0DNHU PD\
        instructed in the above paragraph 27 CFR § 479.63(b)(2)(ii).                      QRW GXSOLFDWH DQ\ VHULDO QXPEHU SODFHG E\ WKH 0DNHU RQ DQ\ RWKHU ¿UHDUP
                                                                                          See 27 CFR § 479.102.
   (6) Item 18 (Method of Payment) is obscured on the ATF copy 2
       (Registrant) and the CLEO copy. In addition, item 4g (serial number)            L. State or Local Permit. If a State or local permit or license is required before
       LV REVFXUHG RQ WKH &/(2 FRS\ 7KHVH ¿HOGV GR QRW UHTXLUH FRPSOHWLRQ                WKH PDNLQJ RI WKH ¿UHDUP D FRS\ RI WKH SHUPLW RU OLFHQVH PXVW EH VXEPLWWHG
        on these copies.                                                                  with the application. If the applicant is a trust or legal entity, when the State of
                                                                                          residence or any Responsible Person requires a State or local permit or license,
E. Photograph and Fingerprints and Photograph. An individual applicant                    a copy of the permit or license must be submitted with Form 5320.23, National
   or Responsible Persons of a legal entity applicant must (1) attach to item             Firearms Act 1)$ Responsible Person Questionnaire.
   15 of the ATF Form 1, a 2 inch x 2 inch photograph of the frontal view
   of the transferee taken within 1 year prior to the date of the application          M. &RPSOLDQFHZLWKH[SORVLYHVODZV 86&&KDSWHU DQGUHJXODWLRQV
   and (2) submit two properly completed FBI Forms FD-258 (Fingerprint                     &)53DUW  If the application is for a Destructive Device utilizing
   Card with blue lines) ZLWK WKH DSSOLFDWLRQ 7KH ¿QJHUSULQWV PXVW EH FOHDU              explosive materials, check the Explosives box in item 4.j and provide the type(s)
   IRU DFFXUDWH FODVVL¿FDWLRQ DQG WDNHQ E\ VRPHRQH SURSHUO\ HTXLSSHG WR WDNH              of explosives to be used. If the applicant is other than a government agency,
   them.                                                                                  item 5 must be completed with an explosives license or permit number issued to
                                                                                          the applicant. If the applicant is other than an individual, such as a legal entity,
   Note: Each Responsible Person of an entity licensed under the Gun Control              and does not have an explosives license or permit, then a Responsible Person
   Act (GCA) that does not pay the Special (Occupational) Tax (SOT) must                  for the applicant must have a license or permit and enter the information in
   VXEPLW ¿QJHUSULQWV DQG SKRWRJUDSKV ZLWK WKH DSSOLFDWLRQ DV LQVWUXFWHG LQ               item 5. To comply with the explosives laws and regulations, any member of a
   the above paragraph 27 CFR § 479.63(b)(2)(iii)(iv).                                    OHJDO HQWLW\ PXVW DOVR EH LGHQWL¿HG DV D 5HVSRQVLEOH 3HUVRQ RU (PSOR\HH
                                                                                          Possessor on the explosives licenser or permit. A trust cannot be issued an
F. Social Security and UPIN. The Social Security number and UPIN are                      explosives license or permit.                            ATF Form 1 (5320.1)
   QRW UHTXLUHG +RZHYHU WKLV LQIRUPDWLRQ DVVLVWV ZLWK WKH H൶FLHQW FRPSOHWLRQ RI                                                                  Revised December 2022

                                                                                                                                         EXHIBIT 1
                Case 4:22-cv-00143-P Document 55-1 Filed 04/17/23                          Page 7 of 13 PageID 1035
     N. Submission. The Maker shall submit 2 complete forms (ATF copy and
        registrant copy) with original signatures to the NFA Division at the address
        on the face of the form. The applicant shall direct a 3rd complete copy
        RI WKH IRUP WR WKH &KLHI /RFDO /DZ (QIRUFHPHQW 2൶FHU (CLEO) as
        provided in instruction 2g and item 10.

3.   Approval of Application. Upon approval of an application, the NFA Division
     ZLOO D൶[ WKH 1)$ WD[ VWDPS (if any) to the application, cancel it, and return
     WKH DSSURYHG FRS\ WR WKH 0DNHU 7KH DSSURYDO RI WKH DSSOLFDWLRQ H൵HFWXDWHV
     UHJLVWUDWLRQ RI WKH ¿UHDUP WR WKH 0DNHU KRZHYHU WKH ¿UHDUP PXVW QRW EH
     made until the applicant has been approved.

4.   Withdrawal of Application. The Maker may withdraw the application prior
     to approval by the submission of a signed, written request to the Chief, NFA
     Division either by mail to National Firearms Act Division, National Service
     Center, 244 Needy Road, Martinsburg, WV 25405 or by emailing a signed
     copy to nfafax@atf.gov. The NFA Division will arrange for a refund of any tax
     paid.

5.   Cancellation of Approved Application. An approved application may be
     FDQFHOOHG RQO\ LI WKH ¿UHDUP KDG QRW EHHQ PDGH RU PRGL¿HG 7KH 0DNHU PXVW UHWXUQ
     WKH DSSURYHG DSSOLFDWLRQ ZLWK RULJLQDO WD[ VWDPS D൶[HG ZLWK D ZULWWHQ UHTXHVW IRU
     FDQFHOODWLRQ FLWLQJ WKH QHHG DQG WKDW WKH PDNLQJ RI WKH ¿UHDUP GLG QRW WDNH SODFH
     The NFA Division will arrange for a refund of any tax paid.

6.   Disapproval of Application. If the application is disapproved, the NFA
     Division will note the reason for disapproval on the application and return one
     copy to the Maker. The NFA Division will arrange for a refund of any tax paid.

7.   Reason for Disapproval. 26 U.S.C. § 5822 provides that applications
     VKDOO EH GHQLHG LI WKH PDNLQJ RU SRVVHVVLRQ RI WKH ¿UHDUP ZRXOG SODFH WKH
     Maker in violation of law.

     a. Violation of Law. Applications shall be denied if the making or
        SRVVHVVLRQ RI WKH ¿UHDUP ZRXOG SODFH WKH SHUVRQ PDNLQJ WKH ¿UHDUP LQ
        violation of law.

     b. Machineguns. 18 U.S.C. § 922 (o) provides that a machinegun may be
        made only for government use or export. An application will be denied
        unless the making meets these criteria.

     c. Persons Prohibited from Making a Firearm. The application will be
        GLVDSSURYHG LI WKH 0DNHU LV D SHUVRQ SURKLELWHG IURP SRVVHVVLQJ D ¿UHDUP
        )RU LQIRUPDWLRQ UHJDUGLQJ SHUVRQV SURKLELWHG IURP SRVVHVVLQJ D ¿UHDUP
        UHIHU WR GH¿QLWLRQV Q WKURXJK W

8.   ,QTXLULHV ,QIRUPDWLRQ UHODWLQJ WR WKH 1)$ DQG RWKHU ¿UHDUPV ODZV LV DYDLODEOH
     at the ATF Internet website at www.atf.gov. Any inquiry relating to the status
     RI DQ DSSOLFDWLRQ WR WUDQVIHU DQ 1)$ ¿UHDUP RU DERXW SURFHGXUHV LQ JHQHUDO
     should be directed to the NFA Division at (304) 616-4500 or emailed to
     NFA@ATF.GOV. Please be aware that any dissemination by ATF of
     LQIRUPDWLRQ UHODWLQJ WR WKH DSSOLFDWLRQ WR UHJLVWHU DQ 1)$ ¿UHDUP PXVW FRQIRUP
     with the restrictions in 26 U.S.C. § 6103.

9.   Penalties. Any person who violates or fails to comply with any of the
     UHTXLUHPHQWV RI WKH 1)$ VKDOO XSRQ FRQYLFWLRQ EH ¿QHG QRW PRUH WKDQ 
     RU EH LPSULVRQHG IRU QRW PRUH WKDQ  \HDUV RU ERWK $Q\ ¿UHDUP LQYROYHG
     in a violation of the NFA shall be subject to seizure and forfeiture. It is
     unlawful for any person to make or cause the making of a false entry on any
     application or record required by the NFA knowing such entry to be false.

10. Compliance with the Gun Control Act. Person must also comply with all
    relevant portions of the GCA.




                                                                                                             ATF Form 1 (5320.1)
                                                                                                             Revised December 2022

                                                                                                        EXHIBIT 1
                                                                                                                                                 OMB No. 1140-0011 (12/31/2025)
U.S. Department
             Case of Justice
                     4:22-cv-00143-P Document                              55-1 Filed 04/17/23                       Page 8 of 13 PageID 1036
Bureau of Alcohol, Tobacco, Firearms and Explosives
                                                                                           Application to Make and Register a Firearm

ATF Control Number
To: Bureau of Alcohol, Tobacco, Firearms and Explosives, P.O. Box 5015, Portland, OR 97208-5015, National Firearms Act Division (NFA)
(Submit in duplicate. Please do not staple documents. See instructions attached.)
As required by Sections 5821(b), 5822, and 5841 of the National Firearms Act, Title 26 U.S.C., Chapter 53, the   1. Type of Application (check one)
XQGHUVLJQHG KHUHE\ VXEPLWV DSSOLFDWLRQ WR PDNH DQG UHJLVWHU WKH ¿UHDUP GHVFULEHG EHORZ
2. Application is made by:          Corporation        Individual     3a. Trade Name (If any)                        a. Tax Paid. Submit your tax payment of $200
                                                                                                                                  with the application. The tax may be paid
      Other Legal Entity             Trust               Government                                                               by credit or debit card, check, or money order.
                                                         Entity                                                                   Please complete item 20. Upon approval of
                                                                                                                                  WKH DSSOLFDWLRQ ZH ZLOO D൶[ DQG FDQFHO WKH
3b. Applicant’s Full Legal Name and Full Mailing Address (Type or print below) (See instruction 2.D)
                                                                                                                                  required National Firearms Act Stamp.
                                                                                3d. County/Parish                                 (See instruction 2.C and 3)

                                                                                                                                b. Tax Exempt. Firearm is being made on
                                                                                                                                   behalf of the United States, or any department,
                                                                                3e. Telephone Number                               independent establishment, or agency thereof.

                                                                                                                                  or
                                                                                                                                  Tax Exempt. Firearm is being made by or on
                                                                                3f. E-mail Address                                behalf of any State or possession of the United
                                                                                                                                  tates, or any political subdivision thereof, or any
                                                                                                                                  R൶FLDO SROLFH RUJDQL]DWLRQ RI VXFK D JRYHUQPHQW
                                                                                                                                  entity engaged in criminal investigations.
3c. If P.O. Box is Shown Above, Street Address Must be Given Here
                                                                                                                                c. Tax Exempt. Firearm is not subject to the making
                                                                                                                                   WD[ SXUVXDQW WR 7LWOH  86&    7R FRQ¿UP
                                                                                                                                   WKH DSSOLFDWLRQ TXDOL¿HV IRU WD[IUHH UHJLVWUDWLRQ $7)
                                                                                                                                   may require additional supporting documentation,
                                                                                                                                   VXFK DV SKRWRJUDSKV RI WKH ¿UHDUP WR EH UHJLVWHUHG
4.    Description of Firearm (Complete items a through k) (See instruction 2.J)
a.    Name and Address of Original Manufacturer and/or           b. Type of Firearm to be Made         c.     Caliber       d. Model $VPDUNHGRQ¿UHDUP
      Importer of Firearm (If any)                                    6HHGH¿QLWLRQ.                         or
                                                                     (If a destructive device,                 Gauge        e. Barrel Length                 f.   Overall Length
                                                                     complete item 4.J)                     (Specify one)

                                                                                                                            g. Serial Number

h.    Additional Description (Indicate required Maker’s Markings to include Maker’s      i.   Specify Why You Intend To Make Firearm (Use additional sheet if necessary)
      QDPHDVUHJLVWHUHG&LW\DQG6WDWHDVHDFKZLOODSSHDURQ¿UHDUP




j. Type of Destructive Device (Check one box):        Firearm      Explosives (If the Explosives box is checked, complete item 5 and see instruction 2.M)

     If an Explosive Type Destructive Device, Please provide additional description:
k. Is This Firearm Being Reactivated?           Yes       No    6HHGH¿QLWLRQ. 
5.    Applicant’s Federal Firearms License (If any) or Explosives License or Permit Number 6. Special (Occupational) Tax Status (SOT) ,IDSSOLFDEOH  6HHGH¿QLWLRQV
      )RU 1RWL¿FDWLRQ 3XUSRVHV SHU 5HJXODWLRQ  3OHDVH 3URYLGH 'LJLW
      Number
                                                                                           D (PSOR\HU ,GHQWL¿FDWLRQ 1XPEHU                 b. Class



Under Penalties of Perjury, I declare that I have examined this application, including accompanying documents, and to the best of my knowledge and belief it is
WUXH DFFXUDWH DQG FRPSOHWH DQG WKH PDNLQJ DQG SRVVHVVLRQ RI WKH ¿UHDUP GHVFULEHG DERYH ZRXOG QRW FRQVWLWXWH D YLRODWLRQ RI 7LWOH  86& &KDSWHU 
Title 26, U.S.C., Chapter 53; or any provisions of State or local law.
7. Signature of Applicant                                            1DPH DQG 7LWOH RI $XWKRUL]HG 2൶FLDO                                       9. Date



                                        The space below is for the use of the Bureau of Alcohol, Tobacco, Firearms and Explosives
By authority of the Director, Bureau of Alcohol, Tobacco, Firearms and Explosives, this Application has been Examined and the Applicant’s Making and Registration of the
Firearm described above is:
      Approved (With the following conditions, if any)                                        Disapproved (For the following reasons)




$XWKRUL]HG $7) 2൶FLDO                                                                                                                                               Date


Previous Editions Are Obsolete                                                                                                                               ATF Form 1 (5320.1)
                                                                  ATF Copy 2 - To Be Returned To Registrant                                                  Revised December 2022

                                                                                                                                                  EXHIBIT 1
                 Case 4:22-cv-00143-P  Document
                                  MAKER’S           55-1
                                          CERTIFICATION       Filed 04/17/23
                                                        (not completed             Page
                                                                       by a GOVERNMENT   9 of 13 PageID 1037
                                                                                       ENTITY)
 /DZ(QIRUFHPHQW1RWL¿FDWLRQ(See instruction 2.H)
(DFK DSSOLFDQW LV WR SURYLGH QRWL¿FDWLRQ RI WKH SURSRVHG PDNLQJ DQG SRVVHVVLRQ RI WKH ¿UHDUP GHVFULEHG RQ WKLV )RUP  E\ SURYLGLQJ D FRS\ RI WKH FRPSOHWHG IRUP WR WKH
&KLHI /DZ (QIRUFHPHQW 2൶FHU (CLEO) LQ WKH DJHQF\ LGHQWL¿HG EHORZ


Agency or Department Name                                                                      1DPH DQG 7LWOH RI 2൶FLDO



Address (Street address or P.O. Box, City, State and ZIP Code) to which sent (Mailed or delivered)

                                         ,QIRUPDWLRQIRUWKH&KLHI/DZ(QIRUFHPHQW2൶FHU                                                      12. Photograph

7KLV IRUP SURYLGHV QRWL¿FDWLRQ RI WKH DSSOLFDQW¶V LQWHQW WR PDNH DQG UHJLVWHU D 1)$ ¿UHDUP 1R DFWLRQ LV UHTXLUHG E\ WKH &/(2
+RZHYHU VKRXOG WKH &/(2 KDYH LQIRUPDWLRQ WKDW PD\ GLVTXDOLI\ WKLV SHUVRQ IURP PDNLQJ RU SRVVHVVLQJ D ¿UHDUP SOHDVH
contact the NFA Division at (304) 616-4500 or NFA@atf.gov.
Maker’s Questions (Complete only when the maker is an individual)
Answer the following questions by checking or marking either the “yes” or “no” box to the right of the questions.
11. Answer questions 11.a. through 11.m. Answer questions 13, 15, 16 and 17 if applicable. For any “Yes” answer
    the applicant shall provide details on a separate sheet. 6HHLQVWUXFWLRQ&DQGGH¿QLWLRQV
                                                                                                                                Yes      No
D 'R \RX LQWHQG WR PDNH DQ\ ¿UHDUP OLVWHG RQ WKLV IRUP IRU VDOH RU RWKHU GLVSRVLWLRQ WR DQ\ SHUVRQ GHVFULEHG LQ
   questions 11.c through 11.l, or a person described in question 11.m who does not fall under an exception?
E 'R \RX LQWHQG WR VHOO RU RWKHUZLVH GLVSRVH RI DQ\ ¿UHDUP OLVWHG RQ WKLV IRUP LQ IXUWKHUDQFH RI DQ\ IHORQ\ RU RWKHU
   R൵HQVH SXQLVKDEOH E\ LPSULVRQPHQW IRU D WHUP RI PRUH WKDQ RQH \HDU D )HGHUDO FULPH RI WHUURULVP RU D GUXJ
   WUD൶FNLQJ R൵HQVH"
c. Are you under indictment or information in any court for a felony, or any other crime, for which the judge
   could imprison you for more than one year? 6HHGH¿QLWLRQ1
d. Have you ever been convicted in any court for a felony, or any other crime, for which the judge could have imprisoned you
   for more than one year, even if you received a shorter sentence including probation? 6HHGH¿QLWLRQ1
e. Are you a fugitive from justice? 6HHGH¿QLWLRQ7
f. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any                                     $൶[D´[´3KRWRJUDSK+HUH
   other controlled substance? Warning: The use or possession of marijuana remains unlawful under                                                     No Stapling. Please Tape
   Federal law regardless of whether it has been legalized or decriminalized for medicinal                                                        Sides of Photo to the Application.
   or recreational purposes in the state where you reside.
                                                                                                                                              1. Photo must have been taken within the
g. Have you ever been adjudicated as a mental defective OR have you ever been committed to a mental                                              last year.
   institution? 6HHGH¿QLWLRQ2DQG3
h. Have you been discharged from the Armed Forces under dishonorable conditions?                                                              2. Photo must have been taken in full face
i. Are you subject to a court order restraining you from harassing, stalking, or threatening your child or an                                    view without a hat or head covering that
   intimate partner or child of such partner? 6HHGH¿QLWLRQ4                                                                                  obscures the hair or hairline.

j. Have you ever been convicted in any court of a misdemeanor crime of domestic violence? 6HHGH¿QLWLRQ5                                   3. On back of photograph print full name,
k.   Have you ever renounced your United States citizenship?                                                                                     last 4 of SSN.

l.   Are you an alien illegally or unlawfully in the United States?

m.1. Are you an alien who has been admitted to the United States under a nonimmigrant visa?                        Yes         No
m.2. If “Yes”, do you fall within any of the exceptions stated in the instructions? Attach the documentation to the application                   Yes          No           N/A
13. If you are an alien, record your U.S.-Issued Alien or Admission number (AR#, USCIS#, or I94#):

 +DYH \RX EHHQ LVVXHG D 8QLTXH 3HUVRQDO ,GHQWL¿FDWLRQ 1XPEHU 83,1 ? (See instruction 2.F)                    Yes      No If Yes please list
15. Social Security Number: (See instruction 2.F)                                                 Date of Birth:

16a. Ethnicity               Hispanic or Latino            16b. Race              American Indian or Alaska Native                    Black or African American              White
                             Not Hispanic or Latino                               Asian                                               1DWLYH +DZDLLDQ RU 2WKHU 3DFL¿F ,VODQGHU
17a. Country of Citizenship: &KHFN/LVWPRUHWKDQRQHLIDSSOLFDEOH1DWLRQDOVRIWKH8QLWHG6WDWHVPD\FKHFN86$  6HHGH¿QLWLRQ6

          United States of America (U.S.A.)             Other Country/Countries (Specify):
17b. State of Birth                                                                                 17c.Country of Birth

CERTIFICATION: Under penalties imposed by 18 U.S.C. § DQG86&§ ,FHUWLI\WKDWXSRQVXEPLVVLRQRIWKLVIRUPWR$7)DFRPSOHWHGFRS\RIWKLVIRUP
ZLOOEHGLUHFWHGWRWKH&/(2VKRZQLQLWHPWKDWWKHVWDWHPHQWVDVDSSOLFDEOHFRQWDLQHGLQWKLVFHUWL¿FDWLRQDQGDQ\DWWDFKHGGRFXPHQWVLQVXSSRUWWKHUHRIDUHWUXHDQG
FRUUHFWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI127( 6HHLQVWUXFWLRQV'  DQG'  IRUWKHLWHPVWREHFRPSOHWHGGHSHQGLQJRQWKHW\SHRIDSSOLFDQW


       Signature of Maker                                                                                 Date
                                                                                                                                                                  ATF Form 1 (5320.1)
                                                                        ATF Copy 2 - To Be Returned To Registrant                                                 Revised December 2022

                                                                                                                                                        EXHIBIT 1
18. Number ofCase    4:22-cv-00143-P
              Responsible                          Document
                          Persons VHHGH¿QLWLRQV associated with the 55-1       Filed
                                                                      applicant trust      04/17/23
                                                                                      or legal entity            Page 10 of 13 PageID 1038
19. Provide the full name (printed or typed) below for each Responsible Person associated with the applicant trust or legal entity (if there are more Responsible Persons than
    can be listed on the form, attach a separate sheet listing the additional Responsible Person(s)). Please note that a completed Form 5320.23, National Firearms Act
     1)$ Responsible Person Questionnaire, must be submitted with the Form 1 application for each Responsible Person.
Full Name                                                                                     Full Name




                                                         Important Information for Currently Registered Firearms


,I \RX DUH WKH FXUUHQW UHJLVWUDQW RI WKH ¿UHDUP GHVFULEHG RQ WKLV IRUP SOHDVH QRWH WKH IROORZLQJ LQIRUPDWLRQ

Estate Procedures: )RU SURFHGXUHV UHJDUGLQJ WKH WUDQVIHU RI ¿UHDUPV LQ DQ HVWDWH UHVXOWLQJ IURP WKH GHDWK RI WKH UHJLVWUDQW LGHQWL¿HG LQ LWHP E WKH H[HFXWRU VKRXOG FRQWDFW
the NFA Division, Bureau of ATF, 244 Needy Road, Martinsburg, WV 25405 or contact via email at NFAFAX@ATF.gov for additional assistance.

Interstate Movement: ,I WKH ¿UHDUP LGHQWL¿HG LQ LWHP  LV D machinegun, VKRUWEDUUHOHGULÀH, short-barreled shotgun, or destructive device, the registrant may be
required by 18 U.S.C. § 922(a)(4) to obtain permission from ATF prior to any transportation in interstate or foreign commerce. ATF Form 5320.20 can be used to request this
permission.

Change of Description or Address: The registrant shall notify the National Firearms Act Division, National Service Center, Bureau of Alcohol, Tobacco, Firearms and
([SORVLYHV  1HHG\ 5RDG 0DUWLQVEXUJ :9  LQ ZULWLQJ RI DQ\ FKDQJH WR WKH GHVFULSWLRQ RI WKH ¿UHDUP LQ LWHP  RU DQ\ FKDQJH WR WKH DGGUHVV RI WKH UHJLVWUDQW

Restrictions on Possession: Any restriction (see approval block on face of form) RQ WKH SRVVHVVLRQ RI WKH ¿UHDUP LGHQWL¿HG LQ LWHP  FRQWLQXHV ZLWK WKH IXUWKHU WUDQVIHU RI
WKH ¿UHDUP

Persons Prohibited from Possessing Firearms: ,I WKH UHJLVWUDQW EHFRPHV SURKLELWHG IURP SRVVHVVLQJ D ¿UHDUP SOHDVH FRQWDFW WKH 1)$ 'LYLVLRQ IRU SURFHGXUHV RQ KRZ WR
GLVSRVH RI WKH ¿UHDUP

Proof of Registration: $ SHUVRQ SRVVHVVLQJ D ¿UHDUP UHJLVWHUHG DV UHTXLUHG E\ WKH 1)$ VKDOO UHWDLQ SURRI RI UHJLVWUDWLRQ ZKLFK VKDOO EH PDGH DYDLODEOH WR DQ\ $7) 2൶FHU
upon request.

                                                                      Paperwork Reduction Act Notice

This form is in accordance with the Paperwork Reduction Act of 1995. The information you provide is used to establish that the applicant’s making and possession of the
¿UHDUP ZRXOG EH LQ FRQIRUPDQFH ZLWK )HGHUDO 6WDWH DQG ORFDO ODZ 7KH GDWD LV XVHG DV SURRI RI ODZIXO UHJLVWUDWLRQ RI D ¿UHDUP WR WKH PDQXIDFWXUHU 7KH IXUQLVKLQJ RI WKLV
information is mandatory (26 U.S.C. § 5822).

The estimated average burden associated with this collection of information is 4.0 hours per respondent or recordkeeper, depending on individual circumstances.
&RPPHQWV FRQFHUQLQJ WKH DFFXUDF\ RI WKLV EXUGHQ HVWLPDWH DQG VXJJHVWLRQ IRU UHGXFLQJ WKLV EXUGHQ VKRXOG EH DGGUHVVHG WR 5HSRUWV 0DQDJHPHQW 2൶FHU 5HVRXUFH
0DQDJHPHQW 6WD൵ &RQWUDFW DQG )RUPV 6HFWLRQ %XUHDX RI $OFRKRO 7REDFFR )LUHDUPV DQG ([SORVLYHV  1HZ <RUN $YHQXH 1( :DVKLQJWRQ '& 

An agency may not conduct or sponsor, and a person is not required to respond to, a collection of information unless it displays a currently valid OMB control number.



                                                                                                                                                     ATF Form 1 (5320.1)
                                                                  ATF Copy 2 - To Be Returned To Registrant                                          Revised December 2022

                                                                                                                                           EXHIBIT 1
                                                                                                                                                  OMB No. 1140-0011 (12/31/2025)
U.S. Department
            Caseof 4:22-cv-00143-P
                     Justice                  Document                    55-1 Filed 04/17/23                       Page 11 of 13 PageID 1039
Bureau of Alcohol, Tobacco, Firearms and Explosives
                                                                                           Application to Make and Register a Firearm

ATF Control Number
To: Bureau of Alcohol, Tobacco, Firearms and Explosives, P.O. Box 5015, Portland, OR 97208-5015, National Firearms Act Division (NFA)
(Submit in duplicate. Please do not staple documents. See instructions attached.)
As required by Sections 5821(b), 5822, and 5841 of the National Firearms Act, Title 26 U.S.C., Chapter 53, the  1. Type of Application (check one)
XQGHUVLJQHG KHUHE\ VXEPLWV DSSOLFDWLRQ WR PDNH DQG UHJLVWHU WKH ¿UHDUP GHVFULEHG EHORZ
2. Application is made by:          Corporation        Individual     3a. Trade Name (If any)                        a. Tax Paid. Submit your tax payment of $200
                                                                                                                                  with the application. The tax may be paid
      Other Legal Entity             Trust               Government                                                               by credit or debit card, check, or money order.
                                                         Entity                                                                   Please complete item 20. Upon approval of
                                                                                                                                  WKH DSSOLFDWLRQ ZH ZLOO D൶[ DQG FDQFHO WKH
3b. Applicant’s Full Legal Name and Full Mailing Address (Type or print below) (See instruction 2.D)
                                                                                                                                  required National Firearms Act Stamp.
                                                                                3d. County/Parish                                 (See instruction 2.C and 3)

                                                                                                                                b. Tax Exempt. Firearm is being made on
                                                                                                                                   behalf of the United States, or any department,
                                                                                3e. Telephone Number                               independent establishment, or agency thereof.

                                                                                                                                  or
                                                                                                                                  Tax Exempt. Firearm is being made by or on
                                                                                3f. E-mail Address                                behalf of any State or possession of the United
                                                                                                                                  tates, or any political subdivision thereof, or any
                                                                                                                                  R൶FLDO SROLFH RUJDQL]DWLRQ RI VXFK D JRYHUQPHQW
                                                                                                                                  entity engaged in criminal investigations.
3c. If P.O. Box is Shown Above, Street Address Must be Given Here
                                                                                                                                c. Tax Exempt. Firearm is not subject to the making
                                                                                                                                   WD[ SXUVXDQW WR 7LWOH  86&    7R FRQ¿UP
                                                                                                                                   WKH DSSOLFDWLRQ TXDOL¿HV IRU WD[IUHH UHJLVWUDWLRQ $7)
                                                                                                                                   may require additional supporting documentation,
                                                                                                                                   VXFK DV SKRWRJUDSKV RI WKH ¿UHDUP WR EH UHJLVWHUHG
4.    Description of Firearm (Complete items a through k) (See instruction 2.J)
a.    Name and Address of Original Manufacturer and/or           b. Type of Firearm to be Made         c.     Caliber       d. Model $VPDUNHGRQ¿UHDUP
      Importer of Firearm (If any)                                    6HHGH¿QLWLRQ.                         or
                                                                     (If a destructive device,                 Gauge        e. Barrel Length                 f.   Overall Length
                                                                     complete item 4.J)                     (Specify one)



h.    Additional Description (Indicate required Maker’s Markings to include Maker’s      i.   Specify Why You Intend To Make Firearm (Use additional sheet if necessary)
      QDPHDVUHJLVWHUHG&LW\DQG6WDWHDVHDFKZLOODSSHDURQ¿UHDUP




j. Type of Destructive Device (Check one box):        Firearm      Explosives (If the Explosives box is checked, complete item 5 and see instruction 2.M)

     If an Explosive Type Destructive Device, Please provide additional description:
k. Is This Firearm Being Reactivated?           Yes       No    6HHGH¿QLWLRQ. 
5.    Applicant’s Federal Firearms License (If any) or Explosives License or Permit Number 6. Special (Occupational) Tax Status (SOT) ,IDSSOLFDEOH  6HHGH¿QLWLRQV
      )RU 1RWL¿FDWLRQ 3XUSRVHV SHU 5HJXODWLRQ  3OHDVH 3URYLGH 'LJLW
      Number
                                                                                           D (PSOR\HU ,GHQWL¿FDWLRQ 1XPEHU                 b. Class



Under Penalties of Perjury, I declare that I have examined this application, including accompanying documents, and to the best of my knowledge and belief it is
WUXH DFFXUDWH DQG FRPSOHWH DQG WKH PDNLQJ DQG SRVVHVVLRQ RI WKH ¿UHDUP GHVFULEHG DERYH ZRXOG QRW FRQVWLWXWH D YLRODWLRQ RI 7LWOH  86& &KDSWHU 
Title 26, U.S.C., Chapter 53; or any provisions of State or local law.
7. Signature of Applicant                                            1DPH DQG 7LWOH RI $XWKRUL]HG 2൶FLDO                                       9. Date




Previous Editions Are Obsolete                                                                                                                                ATF Form 1 (5320.1)
                                                                                  CLEO Copy                                                                   Revised December 2022

                                                                                                                                                  EXHIBIT 1
               Case 4:22-cv-00143-P  Document
                                MAKER’S          55-1(notFiled
                                        CERTIFICATION            04/17/23
                                                         completed            Page
                                                                   by a GOVERNMENT   12 of 13 PageID 1040
                                                                                   ENTITY)
 /DZ(QIRUFHPHQW1RWL¿FDWLRQ(See instruction 2.H)
(DFK DSSOLFDQW LV WR SURYLGH QRWL¿FDWLRQ RI WKH SURSRVHG PDNLQJ DQG SRVVHVVLRQ RI WKH ¿UHDUP GHVFULEHG RQ WKLV )RUP  E\ SURYLGLQJ D FRS\ RI WKH FRPSOHWHG IRUP WR WKH
&KLHI /DZ (QIRUFHPHQW 2൶FHU (CLEO) LQ WKH DJHQF\ LGHQWL¿HG EHORZ


Agency or Department Name                                                                      1DPH DQG 7LWOH RI 2൶FLDO



Address (Street address or P.O. Box, City, State and ZIP Code) to which sent (Mailed or delivered)

                                         ,QIRUPDWLRQIRUWKH&KLHI/DZ(QIRUFHPHQW2൶FHU

7KLV IRUP SURYLGHV QRWL¿FDWLRQ RI WKH DSSOLFDQW¶V LQWHQW WR PDNH DQG UHJLVWHU D 1)$ ¿UHDUP 1R DFWLRQ LV UHTXLUHG E\ WKH &/(2
+RZHYHU VKRXOG WKH &/(2 KDYH LQIRUPDWLRQ WKDW PD\ GLVTXDOLI\ WKLV SHUVRQ IURP PDNLQJ RU SRVVHVVLQJ D ¿UHDUP SOHDVH
contact the NFA Division at (304) 616-4500 or NFA@atf.gov.
Maker’s Questions (Complete only when the maker is an individual)
Answer the following questions by checking or marking either the “yes” or “no” box to the right of the questions.
11. Answer questions 11.a. through 11.m. Answer questions 13, 15, 16 and 17 if applicable. For any “Yes” answer
    the applicant shall provide details on a separate sheet. 6HHLQVWUXFWLRQ&DQGGH¿QLWLRQV
                                                                                                                                Yes      No
D 'R \RX LQWHQG WR PDNH DQ\ ¿UHDUP OLVWHG RQ WKLV IRUP IRU VDOH RU RWKHU GLVSRVLWLRQ WR DQ\ SHUVRQ GHVFULEHG LQ
   questions 11.c through 11.l, or a person described in question 11.m who does not fall under an exception?
E 'R \RX LQWHQG WR VHOO RU RWKHUZLVH GLVSRVH RI DQ\ ¿UHDUP OLVWHG RQ WKLV IRUP LQ IXUWKHUDQFH RI DQ\ IHORQ\ RU RWKHU
   R൵HQVH SXQLVKDEOH E\ LPSULVRQPHQW IRU D WHUP RI PRUH WKDQ RQH \HDU D )HGHUDO FULPH RI WHUURULVP RU D GUXJ
   WUD൶FNLQJ R൵HQVH"
c. Are you under indictment or information in any court for a felony, or any other crime, for which the judge
   could imprison you for more than one year? 6HHGH¿QLWLRQ1
d. Have you ever been convicted in any court for a felony, or any other crime, for which the judge could have imprisoned you
   for more than one year, even if you received a shorter sentence including probation? 6HHGH¿QLWLRQ1
e. Are you a fugitive from justice? 6HHGH¿QLWLRQ7
f. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any
   other controlled substance? Warning: The use or possession of marijuana remains unlawful under
   Federal law regardless of whether it has been legalized or decriminalized for medicinal
   or recreational purposes in the state where you reside.
g. Have you ever been adjudicated as a mental defective OR have you ever been committed to a mental
   institution? 6HHGH¿QLWLRQ2DQG3
h. Have you been discharged from the Armed Forces under dishonorable conditions?
i. Are you subject to a court order restraining you from harassing, stalking, or threatening your child or an
   intimate partner or child of such partner? 6HHGH¿QLWLRQ4
j. Have you ever been convicted in any court of a misdemeanor crime of domestic violence? 6HHGH¿QLWLRQ5
k.   Have you ever renounced your United States citizenship?
l.   Are you an alien illegally or unlawfully in the United States?

m.1. Are you an alien who has been admitted to the United States under a nonimmigrant visa?                        Yes         No
m.2. If “Yes”, do you fall within any of the exceptions stated in the instructions? Attach the documentation to the application                   Yes        No             N/A
13. If you are an alien, record your U.S.-Issued Alien or Admission number (AR#, USCIS#, or I94#):

 +DYH \RX EHHQ LVVXHG D 8QLTXH 3HUVRQDO ,GHQWL¿FDWLRQ 1XPEHU 83,1 ? (See instruction 2.F)                    Yes      No If Yes please list
                                                                                                  Date of Birth:

16a. Ethnicity               Hispanic or Latino            16b. Race              American Indian or Alaska Native                    Black or African American              White
                             Not Hispanic or Latino                               Asian                                               1DWLYH +DZDLLDQ RU 2WKHU 3DFL¿F ,VODQGHU
17a. Country of Citizenship: &KHFN/LVWPRUHWKDQRQHLIDSSOLFDEOH1DWLRQDOVRIWKH8QLWHG6WDWHVPD\FKHFN86$  6HHGH¿QLWLRQ6

          United States of America (U.S.A.)             Other Country/Countries (Specify):
17b. State of Birth                                                                                 17c.Country of Birth

CERTIFICATION: Under penalties imposed by 18 U.S.C. § DQG86&§ ,FHUWLI\WKDWXSRQVXEPLVVLRQRIWKLVIRUPWR$7)DFRPSOHWHGFRS\RIWKLVIRUP
ZLOOEHGLUHFWHGWRWKH&/(2VKRZQLQLWHPWKDWWKHVWDWHPHQWVDVDSSOLFDEOHFRQWDLQHGLQWKLVFHUWL¿FDWLRQDQGDQ\DWWDFKHGGRFXPHQWVLQVXSSRUWWKHUHRIDUHWUXHDQG
FRUUHFWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI127( 6HHLQVWUXFWLRQV'  DQG'  IRUWKHLWHPVWREHFRPSOHWHGGHSHQGLQJRQWKHW\SHRIDSSOLFDQW


       Signature of Maker                                                                                 Date
                                                                                                                                                                  ATF Form 1 (5320.1)
                                                                                          CLEO Copy                                                               Revised December 2022

                                                                                                                                                        EXHIBIT 1
18. Number ofCase    4:22-cv-00143-P
              Responsible                          Document
                          Persons VHHGH¿QLWLRQV associated with the 55-1       Filed
                                                                      applicant trust      04/17/23
                                                                                      or legal entity            Page 13 of 13 PageID 1041
19. Provide the full name (printed or typed) below for each Responsible Person associated with the applicant trust or legal entity (if there are more Responsible Persons than
    can be listed on the form, attach a separate sheet listing the additional Responsible Person(s)). Please note that a completed Form 5320.23, National Firearms Act
    1)$ Responsible Person Questionnaire, must be submitted with the Form 1 application for each Responsible Person.
Full Name                                                                                     Full Name




                                                         Important Information for Currently Registered Firearms


,I \RX DUH WKH FXUUHQW UHJLVWUDQW RI WKH ¿UHDUP GHVFULEHG RQ WKLV IRUP SOHDVH QRWH WKH IROORZLQJ LQIRUPDWLRQ

Estate Procedures: )RU SURFHGXUHV UHJDUGLQJ WKH WUDQVIHU RI ¿UHDUPV LQ DQ HVWDWH UHVXOWLQJ IURP WKH GHDWK RI WKH UHJLVWUDQW LGHQWL¿HG LQ LWHP E WKH H[HFXWRU VKRXOG FRQWDFW
the NFA Division, Bureau of ATF, 244 Needy Road, Martinsburg, WV 25405 or contact via email at NFAX@ATF.gov for additional assistance.

Interstate Movement: ,I WKH ¿UHDUP LGHQWL¿HG LQ LWHP  LV D machinegun, VKRUWEDUUHOHGULÀH, short-barreled shotgun, or destructive device, the registrant may be
required by 18 U.S.C. § 922(a)(4) to obtain permission from ATF prior to any transportation in interstate or foreign commerce. ATF Form 5320.20 can be used to request this
permission.

Change of Description or Address: The registrant shall notify the National Firearms Act Division, National Service Center, Bureau of Alcohol, Tobacco, Firearms and
([SORVLYHV  1HHG\ 5RDG 0DUWLQVEXUJ :9  LQ ZULWLQJ RI DQ\ FKDQJH WR WKH GHVFULSWLRQ RI WKH ¿UHDUP LQ LWHP  RU DQ\ FKDQJH WR WKH DGGUHVV RI WKH UHJLVWUDQW

Restrictions on Possession: Any restriction (see approval block on face of form) RQ WKH SRVVHVVLRQ RI WKH ¿UHDUP LGHQWL¿HG LQ LWHP  FRQWLQXHV ZLWK WKH IXUWKHU WUDQVIHU RI
WKH ¿UHDUP

Persons Prohibited from Possessing Firearms: ,I WKH UHJLVWUDQW EHFRPHV SURKLELWHG IURP SRVVHVVLQJ D ¿UHDUP SOHDVH FRQWDFW WKH 1)$ 'LYLVLRQ IRU SURFHGXUHV RQ KRZ WR
GLVSRVH RI WKH ¿UHDUP

Proof of Registration: $ SHUVRQ SRVVHVVLQJ D ¿UHDUP UHJLVWHUHG DV UHTXLUHG E\ WKH 1)$ VKDOO UHWDLQ SURRI RI UHJLVWUDWLRQ ZKLFK VKDOO EH PDGH DYDLODEOH WR DQ\ $7) 2൶FHU
upon request.

                                                                      Paperwork Reduction Act Notice

This form is in accordance with the Paperwork Reduction Act of 1995. The information you provide is used to establish that the applicant’s making and possession of the
¿UHDUP ZRXOG EH LQ FRQIRUPDQFH ZLWK )HGHUDO 6WDWH DQG ORFDO ODZ 7KH GDWD LV XVHG DV SURRI RI ODZIXO UHJLVWUDWLRQ RI D ¿UHDUP WR WKH PDQXIDFWXUHU 7KH IXUQLVKLQJ RI WKLV
information is mandatory (26 U.S.C. § 5822).

The estimated average burden associated with this collection of information is 4.0 hours per respondent or recordkeeper, depending on individual circumstances.
&RPPHQWV FRQFHUQLQJ WKH DFFXUDF\ RI WKLV EXUGHQ HVWLPDWH DQG VXJJHVWLRQ IRU UHGXFLQJ WKLV EXUGHQ VKRXOG EH DGGUHVVHG WR 5HSRUWV 0DQDJHPHQW 2൶FHU 5HVRXUFH
0DQDJHPHQW 6WD൵ &RQWUDFW DQG )RUPV 6HFWLRQ %XUHDX RI $OFRKRO 7REDFFR )LUHDUPV DQG ([SORVLYHV  1HZ <RUN $YHQXH 1( :DVKLQJWRQ '& 

An agency may not conduct or sponsor, and a person is not required to respond to, a collection of information unless it displays a currently valid OMB control number.



                                                                                                                                                    ATF Form 1 (5320.1)
                                                                                  CLEO Copy                                                         Revised December 2022

                                                                                                                                           EXHIBIT 1
